Case 2:15-cv-00997-JRG-RSP Document 1 Filed 06/08/15 Page 1 of 5 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 DIGITAL TECHNOLOGIES LLC,

                        Plaintiff,
                                                           Civil Action No. 2:15-cv-997
          v.
                                                           JURY TRIAL DEMANDED
 SONY COMPUTER ENTERTAINMENT
 AMERICA LLC,

                        Defendant.


                                     ORIGINAL COMPLAINT

         Plaintiff Digital Technologies LLC (“Digital Technologies” or “Plaintiff”) files this

Complaint for patent infringement against Sony Computer Entertainment America LLC (“Sony”

or “Defendant”) alleging as follows:

                                              PARTIES

         1.     Plaintiff Digital Technologies, LLC is limited liability company organized under

the state of Texas having a principal place of business at 1400 Preston Road, Ste. 400, Plano, TX

75093.

         2.     Upon information and belief, Defendant Sony is a limited liability company

organized and existing under the laws of the State of Delaware, with its principal place of business

located at 2207 Bridgepointe Pkwy, San Mateo, CA 94404. Upon information and belief, Sony

may be served via its registered agent for service of process: Corporation Service Company, 2711

Centerville Road, Ste. 400, Wilmington, DE 19808.
Case 2:15-cv-00997-JRG-RSP Document 1 Filed 06/08/15 Page 2 of 5 PageID #: 2




                                      JURISDICTION AND VENUE

        3.      This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        4.      Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On

information and belief, Defendant has transacted business in this district, and has committed acts

of patent infringement in this district.

        5.      Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, due at least to its substantial business

in this forum, including: (i) at least a portion of the infringements alleged herein; and (ii) regularly

doing or soliciting business, engaging in other persistent courses of conduct, and/or deriving

substantial revenue from goods and services provided to individuals in Texas and in this judicial

district.

                                   U.S. PATENT NO. 8,671,195

        6.      Plaintiff is the owner by assignment of United States Patent No. 8,671,195 (the

“’195 Patent”) entitled “Digital Media Communications Protocol.” The ’195 Patent issued on

March 11, 2014. A true and correct copy of the ’195 Patent is attached as Exhibit A.

        7.      Mr. Leigh M. Rothschild is listed as the inventor on the ’195 Patent.

        8.      On information and belief, to the extent any marking was required by 35 U.S.C.

§ 287, predecessors in interest to the ’195 Patent complied with such requirements.

                                    COUNT I
                     (INFRINGEMENT OF U.S. PATENT NO. 8,671,195)

        9.      Sony has, pursuant to 35 U.S.C. § 271, infringed and continues to infringe, the ’195

Patent in the State of Texas, in this judicial district, and/or elsewhere in the United States by,

among other things, making, using, selling, offering to sell, and/or importing, without license, a
Case 2:15-cv-00997-JRG-RSP Document 1 Filed 06/08/15 Page 3 of 5 PageID #: 3




digital media communications protocol for transmitting media files between a media terminal and

media node on an interactive network, such as Remote Play.

       10.     Remote Play falls within the scope of at least claim 17 of the ’195 Patent, as

evidenced by Sony’s product descriptions.        For example, Remote Play provides a digital

communications protocol. See http://manuals.playstation.net/document/en/psvita/ps4link/index.

html. Remote Play includes at least one media terminal and media node, a communications link

between them, the communications link being initiated by one of the Remote Play devices, the

media node and terminal structured to transmit a digital file over the communications link, and the

communications link is structured to bypass at least one media terminal security measure. For

example, the Remote Play “lets the PS Vita operate a PS4 via a wireless connection. This gives

you the ability to play most PS4 Games away from the couch and even away from home on your

PS Vita.” See http://faq.en.playstation.com/app/answers/detail/a_id/9539/~/ps4%E2%84%A2-

remote-play-and-second-screen.

       11.     As a result of Sony’s infringement of the ’195 Patent, Plaintiff has suffered

monetary damages in an amount not yet determined, and will continue to suffer damages in the

future unless Sony’s infringing activities are enjoined by this Court.

       12.     Unless a permanent injunction is issued enjoining Sony and its agents, servants,

employees, attorneys, representatives, affiliates, and all others acting on their behalf from

infringing the ’195 Patent, Plaintiff will be irreparably harmed.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter:

       1.      A judgment in favor of Plaintiff that Sony has infringed the ’195 Patent;
Case 2:15-cv-00997-JRG-RSP Document 1 Filed 06/08/15 Page 4 of 5 PageID #: 4




        2.     A permanent injunction enjoining Sony and its officers, directors, agents servants,

affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in active

concert therewith from infringement of the ’195 Patent, or such other equitable relief the Court

determines is warranted;

        3.     A judgment and order requiring Sony to pay Plaintiff its damages, costs, expenses,

and prejudgment and post-judgment interest for Defendant’s infringement of the ’195 Patent as

provided under 35 U.S.C. § 284, and an accounting of ongoing post-judgment infringement;

        4.     Any and all other relief, at law or equity, to which Plaintiff may show itself to be

entitled.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.
Case 2:15-cv-00997-JRG-RSP Document 1 Filed 06/08/15 Page 5 of 5 PageID #: 5




     DATED June 8, 2015.                Respectfully submitted,
                                        By: /s/ Hao Ni
                                        Hao Ni
                                        Texas Bar No. 24047205
                                        hni@nilawfirm.com
                                        Timothy T. Wang
                                        Texas Bar No. 24067927
                                        twang@nilawfirm.com
                                        Neal G. Massand
                                        Texas Bar No. 24039038
                                        nmassand@nilawfirm.com
                                        Stevenson Moore V
                                        Texas Bar No. 24076573
                                        smoore@nilawfirm.com

                                        NI, WANG & MASSAND, PLLC
                                        8140 Walnut Hill Ln., Ste. 500
                                        Dallas, TX 75231
                                        Tel: (972) 331-4600
                                        Fax: (972) 314-0900

                                        ATTORNEYS FOR PLAINTIFF
                                        DIGITAL TECHNOLOGIES LLC
